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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 UNITED STATES OF AMERICA,                  §
                                            §
 v.                                         §    Criminal No. 4:20-cr-00242-P
                                            §
 ALFRED JOHN MCDONALD.                      §

       ORDER ON DEFENDANT’S MOTION TO WITHDRAW GUILTY PLEA

         Before the Court is Defendant Alfred John McDonald’s Motion to Withdraw Guilty

Plea. ECF No. 56. The Court referred the Motion to Magistrate Judge Cureton for

consideration. ECF No. 59. Judge Cureton conducted a hearing on August 21, 2021, and

stated his findings as to the Carr factors and reasons why he was recommending denial of

the Motion. ECF No. 63 at 84–87. Judge Cureton then issued an order recommending the

Motion be denied for the reasons stated on the record and providing any party 14 days to

object. ECF No. 62. As of the date of this order, no objections have been filed. Therefore,

Defendant’s Motion is ripe for review.

         Having conducted a review of the Motion, transcript of the hearing before Judge

Cureton (ECF No. 63), and the applicable law the Court ACCEPTS the

findings and recommendation from Judge Cureton and accordingly concludes that

the Motion to Withdraw Guilty Plea should be and hereby is DENIED.

         SO ORDERED on this 26th day of October, 2021.
